                        UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:20-CV-00504-FDW-DSC

CPI SECURITY SYSTEMS, INC.,

                                             Plaintiff,

                  v.
                                                               PLAINTIFF CPI SECURITY
VIVINT SMART HOME, INC. f/k/a                                  SYSTEMS, INC.’S BENCH BRIEF
Mosaic Acquisition Corp.; and LEGACY                           REGARDING EXHIBIT P50
VIVINT SMART HOME, INC. f/k/a
Vivint Smart Home, Inc.,

                                        Defendants.


         Plaintiff CPI Security Systems, Inc. (“CPI”) respectfully submits this bench

brief in support of its argument that the spreadsheet objected to by counsel during

the videotaped testimony of Scott Bell is admissible.1

                                             INTRODUCTION

         On February 7, 2023, Plaintiff called Scott Bell, a former Vivint sales vice

president, as a witness in its case in chief, via videotaped deposition. A portion of Mr.

Bell’s testimony that Plaintiff seeks to present to the jury relies upon and displays

Exhibit P50, a compilation exhibit which includes a spreadsheet created by Vivint to

record compliance issues by its salespeople, including compliance issues.

Furthermore, Plaintiff seeks to admit Exhibit P50 into evidence.                                     Counsel for

Defendants have raised a hearsay objection to the use of the spreadsheet in exhibit




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  Defense counsel did not object to any other portions of P50. Thus, notwithstanding the ruling on this limited issue,
the remainder or P50 should be admitted into evidence.

                                                          1

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P50 that appears to be a hearsay within hearsay objection. Defendants’ objection

should be overruled because the spreadsheet itself is a business record, and the

customer complaints within it are offered for non-hearsay purposes. Contrary to

what Defendants have contended, Courts have allowed this type of evidence to be

admitted for non-hearsay purposes in multiple nearly identical cases. See ADT LLC

v. Alder Holdings, LLC et al., No. 17-CV-81237-ROSENBERG, Doc. 335 (S.D. Fla.

Apr. 29, 2019); see also ADT LLC v. Vivint, Inc., No. 17-CV-80432-MIDDLEBROOKS,

Doc. 201 (S.D. Fla. Dec. 8, 2017).

                                     ARGUMENT

   A. THE CHALLENGED PORTION OF EXHIBIT P50 IS A BUSINESS
      RECORD, AND THUS FALLS WITHIN THE FRE 803(6) HEARSAY
      EXCEPTION.

      The challenged portion of Exhibit P50 is admissible pursuant to FRE 803(6) as

a business record. An out of court statement is excluded from the rule against

hearsay if:

              A record of an act, event, condition, opinion, or diagnosis if:
              (A) the record was made at or near the time by — or from
              information transmitted by — someone with knowledge;
              (B) the record was kept in the course of a regularly
              conducted activity of a business, organization, occupation,
              or calling, whether or not for profit;
              (C) making the record was a regular practice of that
              activity;
              (D) all these conditions are shown by the testimony of the
              custodian or another qualified witness, or by a certification
              that complies with Rule 902(11) or (12) or with a statute
              permitting certification.
Fed. R. Evid. 803(6).


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      Mr. Bell, a former employee of Vivint, makes clear that the spreadsheet within

Exhibit P50 is an admissible Vivint business record. Vivint kept the spreadsheet in

the regular course of business while Mr. Bell was a Vivint employee, in order to record

compliance issues, including dated customer complaints. See Dep. of Scott Bell, Aug.

31. 2021, 41:21-42:2.

   B. THE CUSTOMER COMPLAINTS WITHIN P50 ARE ADMISSIBLE TO
      PROVE VIVINT’S KNOWLEDGE AND NOTICE OF THE CONDUCT OF
      ITS SALES REPRESENTATIVES AND TO PROVE ITS INTENT.

      In addition to the spreadsheet in Exhibit P50 being a business record, the

customer complaints within Exhibit P50 are admissible for numerous non-hearsay

purposes, including to prove Vivint’s knowledge, notice, and intent. “When evidence

is offered for the limited purpose of proving notice or state of mind, it is not hearsay.”

Silicon Knights, Inc. v. Epic Games, Inc., No. 5:07-CV-275-D, 2011 WL 5439156, at

*3 (E.D.N.C. Nov. 8, 2011).

      Contrary to Defendants’ suggestion otherwise, courts have allowed this type of

evidence for precisely the purpose CPI plans to use Exhibit P50. In an identical action

brought by ADT against Vivint, ADT sought to admit customer complaints. The

Honorable Donald Middlebrooks held that, “[a]lthough the recordings [of customer

complaints] contain hearsay and may not be admitted as evidence for the truth of the

statements, in the event they have relevance for a non-hearsay purpose such as

notice, any objection shall be dealt with at trial.” See ADT LLC v. Vivint, Inc., No. 17-

CV-80432-MIDDLEBROOKS, Doc. 201 (S.D. Fla. Dec. 8, 2017).




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      Furthermore, in another prior Lanham Act lawsuit brought by ADT against a

security company called Alder Holdings, LLC, the Honorable Robin Rosenberg

permitted customer complaints to come into evidence for the non-hearsay purpose of

proving Alder’s knowledge and notice of its sales representatives’ conduct. See ADT

LLC v. Alder Holdings, LLC et al., No. 17-CV-81237-ROSENBERG, Doc. 335 (S.D.

Fla. Apr. 29, 2019) (“The Court agrees with Judge Reinhart that unsworn customer

complaints, evidence of other lawsuits and investigations, and evidence of alleged

deceptive sales practices occurring prior to May 24, 2017, are admissible to show

Defendants’ knowledge and notice”) (emphasis added).

      Accordingly, the customer complaints within Exhibit P50 are admissible for

the purposes of proving Vivint’s knowledge, notice, and intent.

      To the extent this Court has any concerns about whether the jury will consider

the customer complaints for the truth of the matter asserted, an instruction to the

jury would be the proper remedy. The jury can be instructed that the content of the

complaints contained in Vivint’s business records cannot be offered for the truth of

the matter asserted but can be considered to prove Vivint’s knowledge, notice, or

intent.

                                  CONCLUSION

      For the foregoing reasons, CPI respectfully asks this Court to overrule

Defendants’ hearsay objection to P50.


Dated: February 8, 2023                  Respectfully submitted,

                                         SHOOK, HARDY & BACON L.L.P.

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                            CERTIFICATE OF SERVICE

      I certify that on the 8th day of February, 2023, I have electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system, which will

send notification of filing to all counsel and parties of record.


                                             /s/ Caroline M. Gieser




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